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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


   In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD) (SN)
                                                     ECF Case


This document relates to:
Ashton, et al. v. Kingdom of Saudi Arabia, No. 17-cv-02003
Ashton, et al. v. al Qaeda, et al., No. 02-cv-6977

              REPLY DECLARATION IN SUPPORT OF PLAINTIFFS’
        MOTION TO COMPEL THE FEDERAL BUREAU OF INVESTIGATION
          TO PRODUCE DOCUMENTS FROM ITS INVESTIGATION OF
       SAUDI GOVERNMENT OFFICIALS’ ASSISTANCE TO 9/11 HIJACKERS

       1.      I am an attorney duly admitted before this Court, am Of Counsel to the firm of

Kreindler & Kreindler LLP, attorneys for the Ashton Plaintiffs, and am familiar with this

litigation and the prior proceedings relevant to the subject motion.

       2.      Attached as Exhibit 1 is the Declaration of Families of the Victims of the

September 11 Attacks, submitted in response to the Declaration of FBI Assistant Director

Michael McGarrity.


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Dated: New York, New York
       October 18, 2019
                                                             /s/
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